Entered on Docket Nov. 18, 2009




 1                                                                         The Honorable Karen A. Overstreet
 2                                                                                                Chapter 13
 3
                                                                            Hearing Date: November 13, 2009
 4
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                                                                                     Hearing Time: 9:30 a.m.
 6                                                                             Hearing Location: Seattle, WA
 7                                                                         Response Date: November 6, 2009
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                                 UNITED STATES BANKRUPTCY COURT
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14
                                 WESTERN DISTRICT OF WASHINGTON
15                                          AT SEATTLE
16
17       In re                                                  No. 09-10283-KAO
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19       ROBERT S. BLENDHEIM and                                ORDER ON OBJECTION TO CLAIM #1
20
         DARLENE G. BLENDHEIM,                                  OF LITTON LOAN SERVICING, L.P.
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23                                       Debtors.
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26                THIS MATTER having come before the Court on the Debtors’ Objection to
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          Claim No. 1 of Litton Loan Servicing, L.P., the Court having reviewed and considered the
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31        pleadings, declarations, exhibits, and other evidence on file herein, and the Court finding
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33        that good cause exists for entry of this order; now therefore, it is hereby
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35
                  ORDERED that claim of Litton Loan Servicing, L.P. (Claim No. 1) is
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37
38        DISALLOWED in its entirety.
39
40                DATED this _____ day of November 2009.
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45                                                        The Honorable Karen A. Overstreet
46                                                        United States Bankruptcy Judge
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         ORDER ON OBJECTION TO CLAIM #1 OF
         LITTON LOAN SERVICING, L.P. - 1




     Case 09-10283-MLB
            Case 09-10283-KAODoc 7471 Filed
                               Doc           11/18/09
                                      Filed 11/09/09      Ent.
                                                     Entered    11/18/09
                                                             11/09/09       12:08:15
                                                                      08:42:05  Page 1 of Pg.
                                                                                          2   1 of 2
 1        Presented by:
 2
 3
          RESOLVE LEGAL PLLC
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 5
 6
 7        By     /s/ Taryn M. Darling Hill
 8               Taryn M. Darling Hill, WSBA #38276
 9        Attorneys for Debtors
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         ORDER ON OBJECTION TO CLAIM #1 OF
         LITTON LOAN SERVICING, L.P. - 2




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